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   11   Attorneys for Plaintiff NuVasive, Inc.
   12                         UNITED STATES DISTRICT COURT
   13                      SOUTHERN DISTRICT OF CALIFORNIA
   14                                SAN DIEGO DIVISION
   15   NUVASIVE, INC., a Delaware             )   Case No. 18-cv-00347-CAB-MDD
        corporation,                           )
   16                                          )   NUVASIVE, INC.’S NOTICE OF
             Plaintiff,                        )   MOTION FOR PARTIAL
   17                                          )   SUMMARY JUDGMENT
             v.                                )   (IMPLANT PATENTS)
   18                                          )
                                               )
   19   ALPHATEC HOLDINGS, INC., a             )   PER CHAMBERS RULES, NO
        Delaware corporation, and ALPHATEC )       ORAL ARGUMENT UNLESS
   20   SPINE, INC., a California corporation, )   SEPARATELY ORDERED BY THE
                                               )   COURT
   21        Defendants.                       )
                                               )   Judge: Hon. Cathy Ann Bencivengo
   22                                          )   Magistrate Judge: Mitchell D. Dembin
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        NUVASIVE’S NOTICE OF MOTION                               18-cv-00347-CAB-MDD
        FOR PARTIAL SUMMARY
        JUDGMENT (IMPLANT PATENTS)
Case 3:18-cv-00347-CAB-MDD Document 303 Filed 01/26/21 PageID.27419 Page 2 of 3



    1   TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2         PLEASE TAKE NOTICE that Plaintiff NuVasive, Inc. (“NuVasive”) will
    3   and hereby does move that this Court grant Plaintiff’s Motion for Partial Summary
    4   Judgment (Implant Patents).
    5         This Motion is based upon this Notice of Motion, the accompanying
    6   Memorandum of Points and Authorities, the supporting Declaration of Christiana
    7   Garrett, the pleadings and exhibits on file herein, the arguments of counsel and any
    8   information presented at the hearing, and such other matters as the Court may
    9   consider in connection with this Motion.
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   11   Dated: January 26, 2021       WILSON SONSINI GOODRICH & ROSATI,
   12
                                      P.C.

   13                                 By:
                                            Paul D. Tripodi II (SBN162380)
   14                                       Wendy L. Devine (SBN 246337)
   15                                       Natalie J. Morgan (SBN 211143)
   16                                       HILGERS GRABEN PLLC
   17                                       Michael T. Hilgers, pro hac vice
   18                                 Attorneys for Plaintiff NuVasive, Inc.
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        NUVASIVE’S NOTICE OF MOTION                   1               18-cv-00347-CAB-MDD
        FOR PARTIAL SUMMARY
        JUDGMENT (IMPLANT PATENTS)
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    1                            CERTIFICATE OF SERVICE
    2         The undersigned certifies that a true and correct copy of the foregoing
    3   document has been served on this date to all current and/or opposing counsel of
    4   record, if any to date, who are deemed to have consented to electronic service via
    5   the Court’s CM/ECF system per Civ.L.R. 5.4(d). Any other counsel of record will
    6   be served by electronic mail, facsimile and/or overnight delivery.
    7         I declare under penalty of perjury under the laws of the United States of
    8   America that the above is true and correct. Executed this 26th day of January 2021
    9   at Los Angeles, California.
   10

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                                           By: /s/ Soo Kim
   13                                           SOO KIM
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        CERTIFICATE OF SERVICE                    1                   18-cv-00347-CAB-MDD
